         Case 2:18-cv-00562-AJS Document 80 Filed 07/27/18 Page 1 of 1
                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA


ANTOINETTE SUCHENKO,
                                                  No. 2: I 8-cv-00562-AJS
               Plaintiff,
vs.                                               LEAD CASE

ECCO USA, INC .,

               Defendant.


RACHEL GNIEWKOWSKI ,
                                                  No. 2: I 8-cv-00608-AJS
               Plaintiff,
VS.                                               MEMBER CASE

TREK BICYCLE CORPORATION, ETREK,
LLC; and TREKBIKES.COM LLC,

               Defendants.


                                   NOTICE OF SETTLEMENT

        COMES NOW Plaintiff, Rachel Gniewkowski, by and through her undersigned

counsel , and hereby adv ises this Honorable Court of the settlement of this action.     The

parties are finali zi ng settlement and dismissal documents, and expect to file the dismissal

papers within thirty (30) days.

Dated : July 26, 20 18                            Respectfully Submitted,

                                                  Isl Kevin W. Tucker
                                                  Kevin W. Tucker
                                                  Benjamin J. Sweet
                            J71l                  CARLSON LYNCH SWEET KILPELA
       ANO NON, this ~ - - - -                    & CARPENTER, LLP
       da't of    'J\, l1 , '20    .Ji>,          I 133 Penn Avenue, 5th Floor
       IT IS SO ORDERED.                          Pittsburgh , PA 15222
       ~~                                         Phone: (412) 322-9243
       •STAlisDISTR,cr JUDGE
      UNITE
                                                  ktucker@carlsonl ynch.com
                                                  bsweet@carlsonlynch.com
